                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         RICHFIELD EQUITIES, L.L.C.,                          Case No. 12-33788-dof
              Debtor.                                         Chapter 7 Proceeding
                                                              Hon. Daniel S. Opperman
_____________________________________/


OPINION REGARDING TRUSTEE’S OBJECTION TO CLAIM NO 176 OF DEPENDABLE
    WHOLESALE, INC. AND DEPENDABLE WHOLESALE INC.’S MOTION FOR
   ALLOWANCE OF AN ADMINISTRATIVE EXPENSE PURSUANT TO 11 U.S.C. §
                              503(b)(9)

                            Introduction, Procedural History, and Facts

         The Debtor and its three related entities (collectively “Debtor”) filed Chapter 11 petitions

with this Court on September 18, 2012. Dependable Wholesale, Inc. (“Dependable”) was one of

many suppliers of the Debtor and was owed $104,033.25 for goods supplied pre-petition, of which

Dependable alleges $24,922.65 was supplied 20 days before September 18, 2012. Dependable filed

a proof of claim on January 8, 2013, designating $24,922.65 as an administrative expense accorded

priority under 11 U.S.C. § 503(b)(9).

         Dependable attached to its proof of claim a summary of the invoices it asserts constitute an

administrative claim. This summary is condensed as follows:


                                                              Receipt Confirmed
         Order Date     Order No.       Invoice Amount        by Signature
         9/14/2012      700838          $3,930.89             No
         9/13/2012      700841          $    8.00             Yes
         9/13/2012      700778          $    4.00             Yes
         9/13/2012      700776          $ 16.00               Yes
         9/13/2012      700628          $7,025.07             No
         9/11/2012      700465          $4,400.23             No

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                                                              Receipt Confirmed
       Order Date      Order No.      Invoice Amount          by Signature
       9/7/2012        700243         $    8.00               Yes
       9/6/2012        700180         $ 16.00                 Yes
       9/6/2012        700179         $2,944.58               No
       9/6/2012        700177         $1,253.98               No
       9/4/2012        699917         $ 36.00                 Yes
       9/4/2012        699916         $ 12.00                 Yes
       8/31/2012       699731         $ 16.00                 Yes
       8/31/2012       699709         $ 427.02                No
       8/30/2012       699545         $    8.00               Yes
       8/29/2012       699430         $4,816.99               No

       All invoices that were not confirmed by a signature bear the following notation:

       “PRINT NAME             SEE ATTACHED
        SIGNATURE              SIGNED WORK ORDER”

       The Court could not find any attachments or work orders regarding these invoices in either

the proof of claim or Dependable’s instant Motion. Dependable did not file a motion seeking

priority status by the January 15, 2013, deadline set by Local Bankruptcy Rule 3003-1. These

proceedings were converted to Chapter 7 on February 25, 2013. After liquidating assets and

initiating preference and fraudulent conveyance actions, the Chapter 7 Trustee seeks to conclude this

case and is at the stage where objections to claims are considered. The Trustee objects to the

priority status claimed by Dependable, but Dependable does not agree with the Trustee’s assessment.

Instead, Dependable relies on its priority status as claimed in its proof of claim and reasserts that

status by way of a motion. A major creditor, the Michigan Department of Environmental Quality

(“MDEQ”), joins the Trustee in his objection to the proof of claim and Response to Dependable’s

Motion.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,


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and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate) and (B)(allowance or disallowance of claims against the

estate). All issues before the Court arise from Title 11 of the United States Code and are therefore

within this Court’s jurisdiction.

                                        Applicable Authorities

       11 U.S.C. § 503(a) and (b)(9). Allowance of administrative expenses

               (a) An entity may timely file a request for payment of an administrative
       expense, or may tardily file such request if permitted by the court for cause.
               (b) After notice and a hearing, there shall be allowed administrative expenses,
       other than claims allowed under section 502(f) of this title, including –

               ...

                  (9) the value of any goods received by the debtor within 20 days before
       the date of commencement of a case under this title in which the goods have been
       sold to the debtor in the ordinary course of such debtor’s business.


       11 U.S.C. § 102(1)(A) and (B). Rules of construction

              In this title –
              (1) “after notice and a hearing”, or a similar phrase –
                   (A) means after such notice as is appropriate in the particular
       circumstances, and such opportunity for a hearing as is appropriate in the particular
       circumstances; but
                 (B) authorizes an act without an actual hearing if such notice is given
       properly and if –
                       (i) such a hearing is not requested timely by a party in interest; or
                       (ii) there is insufficient time for a hearing to be commenced before
       such act must be done, and the court authorizes such act;


       Federal Rule of Bankruptcy Procedure 1019(2) and (6). Conversion of a Chapter 11
       Reorganization Case, Chapter 12 Family Farmer’s Debt Adjustment Case, or Chapter
       13 Individual’s Debt Adjustment Case to a Chapter 7 Liquidation Case.

              When a chapter 11, chapter 12, or chapter 13 case has been converted or
       reconverted to a chapter 7 case:

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    ...
           (2) New Filing Periods.

               (A) A new time period for filing a motion under § 707(b) or (c), a claim,
    a complaint objecting to discharge, or a complaint to obtain a determination of
    dischargeability of any debt shall commence under Rules 1017, 3002, 4004, or 4007,
    but a new time period shall not commence if a chapter 7 case had been converted to
    a chapter 11, 12, or 13 case and thereafter reconverted to a chapter 7 case and the
    time for filing a motion under § 707(b) or (c), a claim, a complaint objection to
    discharge, or a complaint to obtain a determination of the dischargeability of any
    debt, or any extension thereof, expired in the original chapter 7 case.
              (B) A new time period for filing an objection to a claim of exemptions shall
    commence under Rule 4003(b) after conversion of a case to chapter 7 unless:
                    (i) the case was converted to chapter 7 more than one year after the
    entry of the first order confirming a plan under chapter 11, 12, or 13; or
                    (ii) the case was previously pending in chapter 7 and the time to
    object to a claimed exemption had expired in the original chapter 7 case.

    ...

              (6) Postpetition Claims; Preconversion Administrative Expenses; Notice. A
    request for payment of an administrative expense incurred before conversion of the
    case is timely filed under § 503(a) of the Code if it is filed before conversion or a
    time fixed by the court. If the request is filed by a governmental unit, it is timely if
    it is filed before conversion or within the later of a time fixed by the court or 180
    days after the date of conversion. A claim of a kind specified in § 348(d) may be
    filed in accordance with Rules 3001(a)-(d) and 3002. Upon the filing of the schedule
    of unpaid debts incurred after commencement of the case and before conversion, the
    clerk, or some other person as the court may direct, shall give notice to those entities
    listed on the schedule of the time for filing a request for payment of an administrative
    expense and, unless a notice of insufficient assets to pay a dividend is mailed in
    accordance with Rule 2002(e), the time for filing a claim of a kind specified in §
    348(d).

    Local Bankruptcy Rule 3003-1 Deadline to File a Proof of Claim, a Proof of Interest
    or a § 503(b)(9) Motion in a Chapter 11 Case

    In a chapter 11 case, unless the court orders otherwise, the deadline for filing a
    required proof of claim or equity interest or a motion for allowance of a claim under
    § 503(b)(9) is 90 days after the first date set for the meeting of creditors.




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                                                 Analysis

        A. Summary of Parties’ Positions.

        The Trustee argues that creditors with Section 503(b)(9) claims must file a motion within

90 days after the first date set for a meeting of creditors; otherwise, the creditor loses the right to that

status. Here, Dependable did not file such a motion until June 15, 2016, long after the January 15,

2013, deadline set by Local Bankruptcy Rule 3003-1.

        In response, Dependable argues the conversion from Chapter 11 to Chapter 7 either excuses

or resets the deadline to file a motion. Alternatively, Dependable argues that its proof of claim

contained all the information needed to satisfy the motion requirement of Section 503(b)(9), and that

its invoices attached to the proof of claim satisfy Section 503(b)(9) as well. Also, Dependable

asserts that cause exists to allow it to file its motion after the Local Bankruptcy Rule 3003-1

deadline.

        In reply, the Trustee asserts that the proof of claim does not meet the Section 503(b)(9)

standards and that cause does not exist to allow a late motion.

        B. Local Bankruptcy Rule 3003-1 sets the applicable deadline.

        Neither the Bankruptcy Code or Federal Bankruptcy Rules of Procedure set a deadline to file

a Section 503(b) motion. Section 503(b) requires a motion because of its reference to “after notice

and a hearing”, but no deadline is set to file such a motion. Local Bankruptcy Rule 3003-1 fills this

gap and requires that a Section 503(b)(9) motion be filed within 90 days of the first date set for the

meeting of creditors. All agree that this deadline in this case is January 15, 2013.

        Dependable, while acknowledging this deadline, places great emphasis on the subsequent

conversion of this case from Chapter 11 to Chapter 7, which it argues reset or excused the deadline.


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        Federal Rule of Bankruptcy Procedure 1019 suggests otherwise. First, subsection six implies

that motions for Section 503(a) status must be filed before conversion or a time fixed by the Court.

Dependable’s Motion was filed long after either date. It is not clear, however, whether this

subsection is applicable.

        Looking past this subsection, Rule 1019(2) sets new filing dates on conversion. None of

the dates reset by Rule 1019(2), however, change the original deadline for filing Section 503(b)(9)

motions. This failure to reset the deadline is noteworthy because other important deadlines are

either reset or excused. Since the failure to address an issue assumes the intent to not change an

existing result, the Court finds that in this case the deadline to file a Section 503(b)(9) motion

remains January 15, 2013. See Lynch v. Johns-Manville Sales Corp., 710 F.2d 1194, 1197-98 (6th

Cir. 1983). (“It is a fundamental rule of statutory construction that inclusion in one part of a

congressional scheme of that which is excluded in another part reflects a congressional intent that

the exclusion was not inadvertent.”)(citation omitted).

        Sound policy reasons support this finding. First, certainty of the nature and priority of claims

is set. All parties, including the debtor, creditors, and subsequent trustee can rely on the knowledge

that a priority creditor does, or does not exist, and may then act accordingly. Second, as in this case,

the deadline forces the parties to come to grips with the issue earlier, and, if need be, preserve

evidence and testimony. Applied here, many invoices are signed by individuals as receiving goods,

but the Chapter 7 Trustee has no definitive method to confirm receipt with that individual, especially

given the passage of almost four years since the goods were delivered. Moreover, in some cases the

invoices do not have the signature of any employee or agent of the Debtor, but only a reference to

an attachment or signed work order. On its face, these invoices cannot now be confirmed, but could


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have perhaps been confirmed years ago if the requisite motion had been filed by the January 15,

2013, deadline.

       Upon reflection, the setting of an early deadline prompts parties to act quickly and efficiently

to enforce their rights. The passage of years weakens the Trustee’s ability to challenge improper

claims, so the Court finds that the January 15, 2013, deadline in this case initially bars Dependable

from filing its instant Motion.

       C. Dependable’s Proof of Claim does not meet the requirements of Section 503(b)(9).

       Dependable argues that its proof of claim clearly sets a request for priority status in the set

amount of $24,922.65 and therefore should be accorded priority. As a general rule, requests for

payment of administrative expenses are expressly filed under Section 503(a), and an assertion to that

status in a proof of claim under Section 501 is not sufficient. In re Plastech Engineered Prods., 394

B.R. 147, 161 (Bankr. E.D. Mich. 2008). This rule is based in part on the notion that motions are

noticed to the debtor and creditors; proofs of claim are not. This method allows for early and clear

raising of the issues, all consistent with Section 503. In some instances, however, a request in a

proof of claim may suffice.

       On close examination, some of the invoices facially support Dependable’s position, but

others do not. Of the invoices with an arguably clear delivery of goods, as acknowledged by the

signature of an individual that the Court assumes is an employee of the Debtor for the purposes of

this motion, all are in modest amounts ranging from $4 to $36, and total $124. The remaining

invoices lack any identifiable signature and reference a signed work order that is not attached to the

proof of claim. There is no evidence within the documents of the proof of claim that the Debtor

received the goods. Since Section 503(b)(9) requires proof of receipt of goods, Dependable’s claim

fails to show that requisite delivery. In re Plastech Engineered Prods., 2008 Bankr. LEXIS 3130

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at *7 (Bankr. E.D. Mich. Oct. 7, 2008); In re Circuit City Stores, Inc., 432 B.R. 225, 229 (Bankr.

E.D. VA 2010).

       D. Cause does not exist to allow consideration of Dependable’s Section 503(b)(9) claim.

       The Court next turns to whether Dependable has demonstrated “cause” under Section 503(a)

to allow for a tardily filed administrative expense claim. In the case of In re Cripps, 549 B.R. 836,

858 (Bankr. W.D. Mich. 2016), the bankruptcy court held:

               In light of the guidance provided by other courts, this court concludes that
       “cause” under section 503(a) should be determined by examining all relevant factors,
       including (i) the prejudice to the party requesting the administrative expense, (ii) the
       prejudice to other parties in interest, most notably the debtor, (iii) the cause of the
       delay, (iv) the length of the delay, (v) the reason for the delay and whether if was in
       the control of the movant, and (vi) whether the movant acted in good faith. Although
       a court should consider the factors for excusable neglect set forth in Pioneer, such
       factors are non-exclusive and cause should be determined on a case-by-case basis.
       Like other courts, this court believes it is appropriate to place significant emphasis
       on whether the delay was caused by the movant, or some other intervening (and
       perhaps unavoidable) event.

Cripps, 549 B.R. 858 (citations omitted).

       The Cripps Court carefully went through the above factors and concluded that while the

administrative expense movant would suffer prejudice and did not exhibit a lack of good faith, the

prejudice to the debtor outweighed any prejudice to the movant. Further, the cause of and reason

for the delay, including the length of such and that such delay was in the reasonable control of the

movant, resulted in a finding that “cause” had not been demonstrated under Section 503(a). Id. at

858-60.

       Similarly in this case, the prejudice to Debtor and namely other administrative claimants

outweighs the prejudice to Dependable. Dependable has not demonstrated a good reason for the

delay, or the cause for such. As soon as the Chapter 11 case was filed on September 18, 2012,

Dependable was aware of its potential for an administrative expense claim under Section 503(b)(9),

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but chose not to file the appropriate separate motion as is required under Section 503(a) and (b),

until June 15, 2016, long after the 90 days following the first date set for the meeting of creditors

was held on October 24, 2012, as well as long after the 90 days following the March 21, 2013, first

meeting of creditors in the converted Chapter 7 case.

       Also, the lack of proof of delivery of goods, coupled with the passage of time severely

impacts the Trustee’s ability to confirm receipt of the goods, and leads the Court to conclude that

significant and irreversible prejudice exists to the Trustee, all of which causes the Court to deny

Dependable’s request for relief.

                                            Conclusion

       The Court denies Dependable’s Motion for Allowance of an Administrative Expense and

sustains the Chapter 7 Trustee’s Objection to Claim No. 176 of Dependable. Counsel for the

Chapter 7 Trustee is directed to prepare an order consistent with this Opinion and the presentment

of order procedures of this Court.
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Signed on August 19, 2016
                                                           /s/ Daniel S. Opperman
                                                         Daniel S. Opperman
                                                         United States Bankruptcy Judge




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